21-51523-mmp Doc#80 Filed 03/16/22 Entered 03/16/22 10:25:57 Main Document Pg 1 of 3




                       IN THE UNITED STATES BANKRUPTCY COURT
                              WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

   In re                                         §
                                                 §
   deeproot Capital Management, LLC              §       Case No. 21-51523-mmp
   Et al.,                                       §       Jointly Administered
                                                 §
           Debtors                               §       (Chapter 7)

                                 ENTRY OF APPEARANCE AND
                                 REQUEST FOR NOTIFICATION

   TO THE HONORABLE CLERK OF THE UNITED STATES BANKRUPTCY COURT:

           Now comes TuYo Holdings, LLC, an interested party in the above-styled and numbered

   case ("Applicant"), by and through its attorneys, Branscomb PLLC, by Patrick H. Autry, and files

   this Entry of Appearance and Request for Notification pursuant to Bankruptcy Rules 9010 and

   2002 and the Local Rules of this Court, and would show the Court as follows:

           1)     Applicant is an interested party in this case. Applicant has a right to receive notice

   of those matters filed in this case which affect Applicant, including, but not limited to,

   CONTESTED and NON-CONTESTED MATTERS and ADVERSARY PROCEEDINGS,

   pursuant to Bankruptcy Rule 2002 and the Local Rules of this Court.

           2)     Applicant requests that notice of those CONTESTED or NON-CONTESTED

   matters or ADVERSARY PROCEEDINGS affecting Applicant and set for hearing in this case be

   sent to the following:

                                 Patrick H. Autry
                                 BRANSCOMB PLLC
                                 Lockhill Crossing, Suite 206
                                 4630 N. Loop 1604 West
                                 San Antonio, Texas 78249
                                 Email: pautry@branscomblaw.com
21-51523-mmp Doc#80 Filed 03/16/22 Entered 03/16/22 10:25:57 Main Document Pg 2 of 3




          PLEASE TAKE FURTHER NOTICE that in filing this Entry of Appearance and Request

   for Notification, Applicant does not consent to have any matter heard in the Bankruptcy Court;

   does not waive any right that it may have to contest jurisdiction in any proceeding involving its

   claims or interests; does not waive the right to seek dismissal of the case, does not waive the right

   under applicable non-bankruptcy law to trial by jury; and does not consent to have any such trial

   conducted in the Bankruptcy Court.

          WHEREFORE, PREMISES CONSIDERED, Applicant respectfully requests that the

   name and address of its counsel as hereinabove stated be put on the mailing matrix to receive

   notices of any and all CONTESTED or NON-CONTESTED matters affecting Applicant filed in

   this case, including any ADVERSARY PROCEEDING affecting Applicant within the context of

   this case, pursuant to Bankruptcy Rule 2002 and the Local Rules of this Court.

          Dated: March 16, 2022
                                                 Respectfully submitted,

                                                 BRANSCOMB PLLC
                                                 Lockhill Crossing, Suite 206
                                                 4630 N. Loop 1604 West
                                                 San Antonio, Texas 78249
                                                 Telephone     210-598-5401
                                                 Telecopier    210-598-5405
                                                 Email         pautry@branscomblaw.com


                                                 BY:     /s/ Patrick H. Autry______________
                                                         Patrick H. Autry
                                                         State Bar No. 01447600
                                                         ATTORNEYS FOR
                                                         TuYo Holdings, LLC
21-51523-mmp Doc#80 Filed 03/16/22 Entered 03/16/22 10:25:57 Main Document Pg 3 of 3




                                  CERTIFICATE OF SERVICE

          The undersigned certifies that a true copy of the foregoing Entry of Appearance and
   Request for Notification was served through the Court’s ECF system and/or email this 16th day of
   March, 2022 upon the following:

          Randall Pulman
          Attorney for the Chapter 7 Trustee
          rpulman@pulmanlaw.com

          Catherine A. Curtis
          Attorney for Debtors
          catherine.curtis@wickphillips.com


                                               /s/ Patrick H. Autry
                                               Patrick H. Autry
